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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                          :
                                                   :
                             Plaintiff,            :      CASE NO. 2:22-CR-236
                                                   :
       v.                                          :
                                                   :      JUDGE WATSON
SHIHAB AHMED SHIHAB SHIHAB,                        :
                                                   :
                             Defendant.            :

            UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING

       Now comes the United States of America, by and through Jessica W. Knight, and hereby

moves this Court for a continuance of the sentencing hearing currently set for August 30, 2023.

Counsel for the Government will be in trial before the Honorable Edmund Sargus, Jr. during the

week of August 28, 2023, and likely on September 5, 2023. Defense counsel does not oppose this

request.

       Thus, the United States seeks a continuance of the currently scheduled sentencing hearing

on August 30, 2023.

                                                   Respectfully submitted,

                                                   KENNETH L. PARKER
                                                   United States Attorney

                                                   s/Jessica W. Knight
                                                   JESSICA W. KNIGHT (0086615)
                                                   Assistant United States Attorney
                                                   303 Marconi Boulevard, Suite 200
                                                   Columbus, Ohio 43215
                                                   Office: (614) 469-5715
                                                   Email: Jessica.knight@usdoj.gov
   Case: 2:22-cr-00236-MHW Doc #: 51 Filed: 08/08/23 Page: 2 of 2 PAGEID #: 147



                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of this Unopposed Motion to Continue

Sentencing Hearing has been served using the CM/ECF system on August 8, 2023, which will

send notification of such filing to counsel of record.



                                                         s/Jessica W. Knight
                                                         JESSICA W. KNIGHT (86615)
                                                         Assistant United States Attorney




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